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   WINNER & ASSOCIATES, P.C.




                                                                 UNITED STATES DISTRICT COURT
          (907) 277-9522
           Law Offices of




                                                                   FOR THE DISTRICT OF ALASKA

                                   RAYMOND C. GIVENS,                                   )
                                                                                        )
                                           Plaintiff                                    )
                                                                                        )
                                           v.                                           )
                                                                                        )
                                   LEROY OENGA, JR.                                     )
                                                                                        )
                                           Defendant.                                   )
                                                                                        )       Case No. 3:21-cv-00008-HRH

                                                                        JOINT STATUS REPORT

                                           COME NOW Plaintiff RAYMOND C. GIVENS, by and through his attorney

                                   Russell Winner, and Defendant LEROY OENGA, JR., by and through his attorney

                                   Rachel Lauesen, and, pursuant to the Court’s Order from Chambers, dated December

                                   Raymond C. Givens v. Leroy Oenga, Jr.,
                                   U.S. District Court for the District of Alaska, Case No. 3:21-cv-00008-HRH                Page 1 of 2



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                                   19, 2022, 1 requesting an updated status report regarding the fee arbitration of this matter

                                   before the Alaska Bar Association, respond as follows: An evidentiary hearing was held

                                   at the offices of the Bar Association in Anchorage, Alaska, on November 14-16, 2022,

                                   before a three-member panel appointed by the Bar Association. At the request of the

                                   panel, the parties presented their closing arguments in memoranda filed on November

                                   30, 2022, and the parties are now awaiting the panel’s decision. The parties will advise

                                   the Court when that decision is received.

                                           Dated this 30th day of December, 2022, at Anchorage, Alaska.
900 WEST FIFTH AVENUE, SUITE 700
 ANCHORAGE, ALASKA, 99501-2029




                                                                      WINNER & ASSOCIATES, PC
   WINNER & ASSOCIATES, P.C.




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                                                                      By: /s/ Russell L. Winner
                                                                      Russell L. Winner, ABA No. 4811179


                                                                      LAUESEN LAW TEAM, LLC
                                                                      Attorneys for Defendant Leroy Oenga, Jr.

                                                                      By: /s/ Rachel B. Lauesen
                                                                      Rachel B. Lauesen, ABA No. 0905016


                                   Certificate of Service
                                   I hereby certify that on December 30, 2022,
                                   a copy of the foregoing document was served electronically
                                   through the ECF system as indicated on the Notice of Electronic Filing.

                                   By:     /s/ Russell L. Winner
                                           Russell L. Winner




                                           1
                                               Docket No. 64.

                                   Raymond C. Givens v. Leroy Oenga, Jr.,
                                   U.S. District Court for the District of Alaska, Case No. 3:21-cv-00008-HRH        Page 2 of 2



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